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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

SAANEN, LLC, an Oklahoma limited             §
liability company,                           §
                                             §
                      Plaintiff              §
v.                                           §      Case No. 20-3165
                                             §
SILICH CONSTRUCTION, INC., a                 §
Colorado corporation, and JOHN               §
SILICH, an individual,                       §
                                             §
                      Defendants             §



                                  ORIGINAL COMPLAINT

       Plaintiff Saanen, LLC (“Saanen”), for its Original Complaint against the

defendants, Silich Construction, Inc. (“SCI”) and John Silich, states:

                       PARTIES, JURISDICTION, AND VENUE

       1.      Saanen is a limited liability company duly organized under the laws of the

state of Oklahoma with its principal place of business in Oklahoma City, Oklahoma. The

member interests in Saanen are entirely owned by Harry McMullan III, a resident of

Oklahoma.

       2.      SCI is a corporation organized under the laws of the state of Colorado with

its principal place of business in Aspen, Colorado.

       3.      John Silich is an individual who resides in the state of Colorado. Upon

information and belief, John Silich was the sole owner of SCI, as well as its President and

CEO, for the entire duration of SCI’s involvement on the Project.
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               4.     Complete diversity of citizenship exists between Saanen, on the one hand,

        and SCI and John Silich, on the other. The amount in controversy exceeds $75,000.00.

        Therefore, this Court has diversity jurisdiction over this action pursuant to 28 U.S.C.

        §1332(a).

               5.     Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because

        Saanen’s claim arises as a result of a contract to be performed in this district and actions

        of the defendants that occurred in this district.

                                       FACTUAL BACKGROUND

               6.     On July 27, 2016, Saanen, as owner, and SCI, as contractor, entered into a

        contract (the “Contract”) for the construction of a house located on real property owned

        by Saanen and located in Aspen, Colorado (the “Project”). The documents signed by the

        parties that comprised the Contract included (i) an AIA Document A101-2007 Standard

        Form of Agreement Between Owner and Contract where the basis of payment is a

        Stipulated Sum (the “Prime Contract”), and (ii) an AIA Document A201-2007 General

        Conditions of the Contract for Construction (the “General Conditions”).

               7.     Article 9 of the Prime Contract enumerates the documents that are

        incorporated into the Contract (the “Contract Documents”). In addition to the Prime

        Contract and the General Conditions, the Contract Documents consist of:

                      a. Contract Exhibit A – Proposal Pricing

                      b. Contract Exhibit B – Schedule

                      c. Contract Exhibit C – Final Plan Package

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                         d. Contract Exhibit E1 – Allowances

               8.        Article 1 of the Prime Contract states that the Contract Documents

        represent the entire agreement between the parties. General Conditions §7.2.1 requires

        that Change Orders be in writing and signed by the Contractor, the Architect, and the

        Owner.

               9.        The architect on the Project is Poss Architecture + Planning (“Poss”).

               10.       Prior to the execution of the Contract, Excavation Services, who was

        employed by Saanen to construct a retaining wall on the property, obtained from HP

        Geotech a Subsoil Study dated February 20, 2014. Saanen obtained an update of this

        report from HP Geotech dated September 14, 2015. The HP Geotech Subsoil Study

        reports dated February 20, 2014 and the September 14, 2015 are hereinafter together

        referred to as the “HP Reports”.

               11.       The HP Reports were not included or incorporated into the Contract

        Documents.

               12.       The Contract Documents contain no representation with respect to the

        presence or absence of bedrock or boulders at the Project site.

               13.       Prime Contract §3.3 provides: “The Contractor shall achieve Substantial

        Completion of the entire Work not later than December 13, 2017.” General Conditions

        §8.2.1 states that the time limits specified in the Contract Documents are “of the essence”




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                   There is no exhibit D to the Contract.
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        and §8.2.3 states that the Contractor shall proceed expeditiously with adequate forces and

        shall achieve Substantial Completion within the Contract Time.

              14.      The Contract is a “Stipulated Sum” or fixed price contract. The price

        agreed upon by Saanen and SCI was $8,911,864.97 (the “Contract Sum”). General

        Conditions §7.1.1 states that any changes in the Contract Sum must be made by Change

        Order or Construction Change Directive2. General Conditions §7.2.1 states that Change

        Orders are written instruments signed by the Owner, the Contractor, and the Architect

        that describe the change in the Work and the adjustment in the Contract Sum and

        Contract Time. A number of change orders were submitted by SCI and approved by Poss

        and Saanen. The approved Change Orders increased the Contract Sum by $1,813,624.90

        to a total Contract Sum of $10,725,489.87. The final four change orders proposed by SCI,

        #44, #45, #46, and #47, were not approved by either Poss or Saanen.

              15.      General Conditions §7.4 provides for the architect to order minor changes

        in the Project work that do not involve an adjustment to the Contract Sum or the time to

        complete the Project. Pursuant to this provision, Poss issued a number of Architect’s

        Supplemental Instructions (“ASIs”) directing minor changes in the work to be performed.

        Each ASI contained the following language:

              The Work shall be carried out in accordance with the following supplemental
              instructions issued in accordance with the Contract Documents without change in
              Contract Sum or Contract Time. Proceeding with Work in accordance with these
              instructions indicates your acknowledgment that there will be no change in
              Contract Sum or Contract Time. (Emphasis added.)



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                  No Construction Change Directives were issued in this Project.
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               16.    General Conditions §9.3.1 provides for SCI to receive progress payments.

        Prime Contract §5.1.4 provides that progress payments shall be based on the most recent

        schedule of values and shall allocate the entire Contract Sum among the various portions

        of the Work. The portion of the Contract Sum allocable to completed Work was to be

        determined by multiplying the percentage completion of each such portion of the Work

        as set forth in the schedule of values by the share of the Contract Sum allocated to that

        portion of the Work in the schedule of values. SCI was required to certify under oath the

        percentage completion of each portion of the work in order to receive a progress

        payment. General Conditions §9.4.1 provides that Applications for Payment (“Pay

        Apps”) were to be submitted by SCI to Poss for “Architect’s Certificate for Payment”

        prior to payment by Saanen.

               17.    General Conditions §9.3.3 states that the issuance of a Pay App by the

        Contractor, subsequent to receipt of payment by the Owner, is the Contractor’s warranty

        that, to the best of his knowledge, information, and belief, the entire Work is “free and

        clear of liens, claims, security interests or encumbrances in favor of the Contractor,

        Subcontractors, material suppliers, or other persons or entities making a claim….”

               18.    Over the course of SCI’s work on the Project, SCI submitted a total of 34

        Pay Apps (numbered 1 through 34) requesting progress payments from Saanen and

        certifying under oath the extent to which each portion of the work had been completed at

        the time of certification.




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               19.    Poss reviewed and certified SCI’s Pay Apps 1 through 30, and Saanen paid

        them in full. In paying Pay Apps 1 through 30, Saanen relied on SCI’s certification

        regarding the extent to which each portion of the work had been completed.

        Furthermore, partway through the course of SCI’s work on the Project, Saanen obtained a

        loan from its bank to enable it to complete the Project. After such loan was made, each

        Pay App was presented to Saanen’s bank, which then advanced the amount of each Pay

        App for payment to SCI. Saanen’s bank relied on SCI’s certification regarding the extent

        of completion of each portion of the work in deciding to advance funds under the loan.

               20.    John Silich personally signed Pay Apps nos. 2, 3, 4, 9, 14, and 24. Based

        on information and belief, all Pay Apps not personally signed by John Silich were

        executed by employees of SCI directed by John Silich to certify under oath the extent to

        which each portion of the work had been completed. As to the Pay Apps submitted by

        SCI that overstated the percentage of completion of the Project, John Silich knew or

        should have known that each such certification was false. In no case did SCI fail to

        deposit the funds sent to it on the basis of those representations.

               21.    As the Project progressed, SCI’s Pay Apps increasingly overstated the

        extent to which SCI’s work on the Project had been completed at the time of the

        certification of each Pay App. Beginning with Pay App #25 for the period ending

        March 11, 2019, SCI increasingly reported more than 100% completion on certain line items in

        its Schedule of Values—a logical impossibility—when in most cases the work remained

        unfinished. This misrepresentation of the percentage completion of the Work gave rise to


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        the current situation, namely, that SCI was paid all but $479,979.04 of the Contract Sum

        with a Project that, including subcontractor bills unpaid by SCI, will cost Saanen at least

        $1,500,000 to complete.

              22.    Upon approval of each Pay App, SCI executed a Lien Waiver.                SCI

        executed 30 Lien Waivers, including a Lien Waiver dated September 10, 2019 in

        connection with Pay App 30. Each Lien Waiver stated the total cumulative amount that

        had been earned under the terms of the Contract through the effective date of the

        accompanying Pay App, and represented that such amount was “the entire amount due as

        of [that] date….”

              23.    Each Lien Waiver also stated that in consideration of, and conditioned on

        payment of, the amount requested in the accompanying Pay App, SCI did “hereby waive

        and release any and every lien and claim … on account of labor or materials furnished by

        Silich Construction, Inc.” (emphasis in original) for the Project through the effective

        date of the Pay App.

              24.    Among the Lien Waivers are two personally signed by John Silich, namely,

        #16, in the cumulative amount of $5,300,627.42 for work completed through

        October 31, 2017, and #24, in the cumulative amount of $7,946,710.08, for work

        completed through October 22, 2018. Based on information and belief, all Lien Waivers

        not personally signed by John Silich were executed by employees of SCI directed by

        John Silich to execute each such Lien Waiver. As to each Lien Waiver submitted by SCI




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        that contained false information, John Silich knew or should have known that each such

        Lien Waiver was false.

               25.    In paying Pay Apps 1 through 30, Saanen relied on SCI’s Lien Waivers.

        Furthermore, Saanen’s bank relied on SCI’s Lien Waivers in deciding to advance funds

        under its loan.

               26.    On February 26, 2020, approximately three and a half years after SCI had

        begun work on the Project, SCI proposed change orders #44, #45 and #46, all of which

        sought to increase the Contract Sum ex post facto.

               27.    Proposed change order #44 did not propose to change the work to be

        performed by SCI in any way. Rather, it sought to add $558,742.71 to the Contract Sum

        for “General Conditions” in connection with previously approved change orders.

        Because all of the previously approved change orders set forth the agreement between the

        Contractor and Owner as to the cost of the Work described in the change order, SCI’s

        proposed change order #44 represents its attempt to change the price of change orders to

        which it had previously agreed.

               28.    Proposed change order #45 sought to add $199,781.00 to the Contract Sum

        for “Bedrock Chipping & Removal” that had been performed during the summer and fall

        of 2016

               29.    Proposed change order #46 sought to add $51,301.40 to the Contract Sum

        for “Oversized Boulder Splitting & Removal” that had been performed during the

        summer and fall of 2016.

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              30.    In the narrative that accompanied change orders #45 and #46, SCI

        maintained that the HP Reports did not disclose the existence of bedrock and large

        boulders at the depths they were found. However, (i) the HP Reports are not Contract

        Documents and hence constitute no representation by Saanen, (ii) even if the HP Reports

        had been Contract Documents, they clearly indicate the presence of bedrock and boulders

        at shallow depths, and (iii) SCI failed to give timely notice of these supposedly hidden

        conditions within 21 days of encountering it as required by the Contract.

              31.    General Conditions §3.74 deals with concealed or unknown conditions. A

        concealed condition must be of an unusual nature that materially differs from those

        ordinarily expected to exist in the area of the Work. According to §3.74, if the contractor

        encounters such an unforeseen condition, the contractor is required to give notice to the

        Architect and Owner no later than 21 days after first observance of the conditions.

        General Conditions §15.1.4 states, “If the Contractor wishes to make a Claim for an

        increase in the Contract Sum, written notice as provided herein shall be given

        before proceeding to execute the Work.”

              32.    SCI encountered boulders and bedrock within days of beginning its

        excavation work on the project in August 2016, but submitted no claim for additional

        compensation until February 26, 2020, three and one-half years and 30 Lien Waivers

        later. Each of those Lien Waivers stated that, in consideration of, and conditioned on

        payment of, the amount requested in the accompanying Pay App, SCI did “hereby waive

        and release any and every lien and claim … on account of labor or materials furnished by

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        Silich Construction, Inc.” (emphasis in original) for the Project through the effective

        date of the Pay App.

              33.    On March 2, 2020, SCI proposed change order #47 in the amount of

        $44,189.86, describing it as SCI’s cost for general liability insurance from

        August 15, 2018 to date. All that was said about SCI-proposed change order #44 could

        be said about SCI-proposed change order #47 and will not be repeated here. Additionally,

        the entire period covered by this proposed change order was subsequent to SCI’s

        contractual completion date.

              34.    General Conditions §7.2.1 requires that the Owner and Architect agree on a

        change order for it to take effect. Neither Saanen nor Poss approved SCI-proposed

        change orders #44, #45, #46 or #47.

              35.    On March 5, 2020, SCI submitted Pay App 31 which sought a progress

        payment for work performed through October 31, 2019. In Pay App 31, SCI represented

        that 99.93% of the Project was complete and that only $7,975.01 worth of work

        remained. Poss did not certify payment Pay App 31 and Saanen did not pay it.

              36.    By letter dated April 1, 2020 from SCI’s attorney Gregory Gordon, SCI

        demanded approval of the above-described SCI-proposed change orders. In addition,

        SCI’s attorney added the nugget that it was entitled to “Increased Costs and Time for ASI

        [Architect’s Supplemental Instructions] Work.”

              37.    Accompanying the April 1, 2020 letter from SCI’s attorney was a Notice of

        Intent to File a Lien Statement (the “Lien Notice”). The Lien Notice advised Saanen of

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        SCI’s intent to file a mechanics and materialmen’s lien statement in the amount of

        $1,280,933.12.

              38.    By email dated April 16, 2020 from SCI’s attorney Gregory Gordon to Les

        Rosenstein at Poss, SCI asked Poss to make a written recommendation/determination

        regarding “whether the bedrock and boulder conditions SCI encountered warrant an

        equitable adjustment to either or both Contract Time or Contract Sum per Section 3.7.4 of

        the A201-2007.”

              39.    By letter dated April 24, 2020, Poss declined to approve SCI’s request,

        stating that it was unable to determine whether SCI has a valid claim to an equitable

        adjustment to either or both Contract Time or Contract Sum.

              40.    On May 18, 2020, SCI’s attorney sent an email to Saanen’s attorney

        stating, among other things: “Following-up on our calls from earlier today, I wanted to

        address your specific question as to whether SCI will require some settlement be reached

        before it will continue work. The answer is ‘yes’.”

              41.    In a letter to Les Rosenstein from Saanen’s counsel dated May 20, 2020,

        Saanen asked Poss to certify pursuant to Prime Contract §7.1 and General Conditions

        §14.2.1 the existence of “cause” for Saanen to terminate the Contract due to SCI’s

        breaches.

              42.    Shortly after learning of Saanen’s request to Poss to terminate the Contract,

        SCI sought to terminate the Contract itself. By letter dated May 22, 2020, SCI notified




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        Saanen and Poss of SCI’s termination of the Contract because an act of government had

        prevented it from working on the Project of more than 30 consecutive days.

               43.   By letter dated May 27, 2020, Poss certified that “cause” existed for Saanen

        to terminate the Contract due to SCI’s failure to achieve substantial completion of the

        Project by December 13, 2017 as required by the Contract.

               44.   On or about July 17, 2020, SCI filed a Statement of Mechanics’ Lien

        asserting a lien against Saanen’s property for the sum of $1,864,938.26.

               45.   Certain of SCI’s subcontractors have filed liens against Saanen’s property

        due to the failure of SCI to pay those subcontractors. Saanen has paid one of SCI’s

        subcontractors the sum of $77,540.78 owed by SCI to the subcontractor for work on the

        Project.

               46.   After the Contract was terminated, at Saanen’s request, Poss contacted

        SCI’s subcontractors to determine the status of their work and the status of payment to

        them. Poss’s investigation concluded that SCI’s subcontractors are owed $539,358.04 for

        past work on the Project.

               47.   In early June, 2020, Saanen requested Poss to contact suitable general

        contractors in the area that might complete the Project. Saanen received five such

        proposals, two of which declined to give a cost estimate. Of the remaining three, one

        estimated the cost to complete the Project at $1,500,000 to $2,000,000. The second

        general contractor’s estimate was $950,000 to $1,350,000, and the third estimated from

        cost to complete of $1,500,000 to $2,250,000. All those estimates excluded the cost of

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        paying SCI subcontractors for previously done work in order to secure their cooperation

        and assistance in completing the Project and to avoid the filing and enforcement of

        additional liens.

               48.    General Conditions §14.2.3 states that if the costs and damages exceed the

        unpaid balance due to the Contractor, the Contractor shall pay the balance to the Owner.

               49.    Upon information and belief, John Silich was sole owner, and acted as

        President and CEO of Silich Construction, Inc. for the entire period in which SCI worked

        on Saanen’s project. John Silich signed the original contract with Saanen, numerous Pay

        Applications and Lien Waivers during construction, as well as the mechanic’s lien

        against Saanen’s property after SCI had been terminated.

                                     FIRST CAUSE OF ACTION
                                     (BREACH OF CONTRACT)

               50.    SCI breached the Contract by, among other things, failure to achieve

        substantial completion of the Project within the time provided by the Contract, having

        failed to complete the Project by more than two years after the deadline specified in the

        Contract

               51.    As a result of SCI’s breach of the Contract, Saanen has suffered damages

        including, but not limited to, the cost to complete the Project in excess of the Contract

        Sum and the amount Saanen will be required to pay SCI’s subcontractors for their work

        on the Project for which SCI failed to pay.




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               52.    Saanen has incurred costs and attorney’s fees in bringing this action and is

        entitled to recover such costs and fees from SCI.

               WHEREFORE, Saanen prays that it have money judgment on its First Cause of

        Action against SCI for damages in an amount to be proved at trial equal to the cost to

        Saanen to complete the Project in excess of the Contract Sum, prejudgment interest as

        provided by law, attorney’s fees, costs of this action, and such other and further relief to

        which Saanen may be justly entitled.

                                 SECOND CAUSE OF ACTION
                           (DECLARATORY JUDGMENT – LIEN INVALID)

               53.    Saanen contends that the lien asserted by SCI against Saanen’s property is

        invalid because, among other reasons, SCI breached the Contract, Saanen paid SCI more

        than SCI was owed for its work on the Project, and SCI’s lien statement drastically

        overstated any amount for which it might arguably be entitled to assert a lien.

               54.    There exists between Saanen and SCI a substantial controversy of sufficient

        immediacy and reality as to warrant the issuance of a declaratory judgment.

               55.    An actual and justiciable controversy exists between Saanen and SCI as to

        whether SCI is entitled to assert a lien against Saanen’s property. A judicial declaration

        is necessary and appropriate so that Saanen may ascertain its rights regarding the lien

        asserted by SCI.

               56.    Saanen has incurred costs and attorney’s fees in bringing this action and is

        entitled to recover such costs and fees from SCI.



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               WHEREFORE, Saanen prays that it have judgment on its Second Cause of Action

        against SCI for a declaratory judgment declaring that the lien asserted by SCI against

        Saanen’s property, as evidenced by the Statement of Mechanics’ Lien filed July 17, 2020,

        is invalid, ordering that the Statement of Mechanics’ Lien be expunged, awarding Saanen

        its attorney’s fees and the costs of this action, and granting such other and further relief to

        which Saanen may be justly entitled.

                                      THIRD CAUSE OF ACTION
                                         (EXCESSIVE LIEN)

               57.    SCI filed its Statement of Mechanics’ Lien for an amount greater than is

        due without a reasonable possibility that the account claimed is actually due to SCI.

               58.    Pursuant to CO Rev. Stat. § 38-22-128, Saanen is entitled to judgment

        against SCI determining that any rights SCI might have had against Saanen’s property are

        forfeited, and for damages in an amount equal to Saanen’s costs and attorney’s fees

        caused by the filing of such lien statement.

               WHEREFORE, Saanen prays that it have judgment on its Third Cause of Action

        against SCI determining that any rights SCI might have had against the Property are

        forfeited, and for damages in an amount equal to Saanen’s costs and attorney’s fees

        caused by the filing of such lien statement and granting such other and further relief to

        which Saanen may be justly entitled.




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                                   FOURTH CAUSE OF ACTION
                                (MISREPRESENTATION – PAY APPS)

               59.    To the extent SCI’s Pay Apps overstated the percentage completion of the

        Project, John Silich and SCI knew or, in the exercise of reasonable care, should have

        known that the percentage completion stated in its Pay Apps exceeded the actual

        percentage completion of the Project and that the representations of percentage

        completion contained in the Pay Apps were false.

               60.    John Silich and SCI made the misrepresentations in order to cause Saanen

        to make progress payments in amounts that were more than were justified by the actual

        percentage completion of the Project.

               61.    John Silich and SCI made the misrepresentations with the intention that

        Saanen would rely on them to their detriment.

               62.    Saanen did rely to its detriment on the representations made by John Silich

        and SCI because Saanen made progress payments in amounts that were more than were

        justified by the actual percentage completion of the Project.

               63.    Saanen has suffered damages as a result of the misrepresentations made by

        John Silich and SCI in an amount to be proven at trial.

               WHEREFORE, Saanen prays that it have money judgment on its Fourth Cause of

        Action against John Silich and SCI for damages in an amount to be determined at trial,

        prejudgment interest as provided by law, attorney’s fees, costs of this action, and such

        other and further relief to which Saanen may be justly entitled.



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                                  FIFTH CAUSE OF ACTION
                            (MISREPRESENTATION – LIEN WAIVERS)

              64.    John Silich, personally, or individuals employed by SCI and acting under

        John Silich’s orders and with his approval, signed 30 Lien Waivers which represented

        that the total cumulative amount of progress payments requested through the date of the

        Lien Waiver was “the entire amount due as of this date.”

              65.    SCI has asserted in its Statement of Mechanics’ Lien and elsewhere that,

        prior to the date of the Lien Waivers, or some of them, that the statements in the Lien

        Waivers were false because additional amounts are owed for work performed prior to the

        dates of the Lien Waivers.

              66.    John Silich and SCI knew or, in the exercise of reasonable care, should

        have known that SCI intended to claim additional amounts for work performed prior to

        the dates of the Lien Waivers and that the representations in the Pay Apps to the effect

        that no additional amounts were owed were false.

              67.    John Silich and SCI made these misrepresentations in order to cause

        Saanen to make excessive progress payments and continue with the Project.

              68.    John Silich and SCI made the misrepresentations with the intention that

        Saanen would rely on them to their detriment.

              69.    Saanen relied to its detriment on the representations made by John Silich

        and SCI, making progress payments that far exceeded the percentage of the Work

        accomplished on the Project.



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               70.    Saanen has suffered damages as a result of the misrepresentations made by

        John Silich and SCI in an amount to be proven at trial.

               WHEREFORE, Saanen prays that it have money judgment on its Fifth Cause of

        Action against John Silich and SCI for damages in an amount to be determined at trial,

        prejudgment interest as provided by law, attorney’s fees, costs of this action, and such

        other and further relief to which Saanen may be justly entitled.


                                                  Respectfully submitted,



                                                  s/ Ross A. Plourde
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